    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 1 of 14



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA               :
                                       :     CRIMINAL ACTION NO.
             v.                        :
                                       :     1:12-CR-323-WSD
EDWARD K. KIM                          :

                  DEFENDANT’S SENTENCING MEMORANDUM

      The Defendant, EDWARD K. KIM, by and through undersigned counsel,

hereby submits this sentencing memorandum in support of a reasonable sentence

under 18 U.S.C. § 3553(a). Mr. Kim respectfully asks that this Court impose a

sentence at the low end of the advisory guideline range. In committing the three

robberies in August, Mr. Kim was selfish, indulgent, and dangerous. His violent

crimes have forever changed the lives of his victims and of himself. Until August,

Mr. Kim had never before committed crimes remotely like these. Through this

sentencing memorandum, counsel will describe Mr. Kim’s heroin addiction, his

repeated attempts to leave heroin behind, and his recurring depression following

each failed effort at sobriety. Counsel does not offer this history as an excuse, but

only as an answer — however unsatisfactory — to the question: Why did Mr. Kim

commit these crimes?

      A.     Mr. Kim’s History of Drug Addiction

      Counsel for Mr. Kim is no expert in psychology or addiction. He will not
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 2 of 14



attempt to look behind the veil of Mr. Kim’s deep and lengthy attachment to drugs.

Instead, counsel will simply provide the Court with the historical facts surrounding

the addiction. By hand delivery earlier today, counsel has provided to the Court a

series of records from various treatment centers and hospitals. In the mean time,

counsel will summarize the records in this sentencing memorandum by citing and

quoting particular highlights. In the end, this history does not excuse the violent

crimes Mr. Kim committed. Indeed, many heroin addicts do not take up armed

robbery in order to support a habit. Yet the addiction is the prologue to Mr. Kim’s

crimes and, in that way, offers some insight into his inexcusable choices. The

enclosed records include the following information:

      -     On June 11, 2008, Mr. Kim intentionally overdosed on heroin in the

            hope of killing himself. (Def’t Ex. 6 at FOR005). As an ambulance took

            him to Northside Hospital Forsyth, he told the EMS staff that “he tried

            to come off the drug, but he can’t” and “if he [could] he would be off

            the drug.” Id. Mr. Kim said that “he wants to die so he will not do this

            again.” Id. On that morning, Mr. Kim ingested an extraordinary

            amount of heroin in a very short time: $200 worth went into two

            needles and then into his left arm. Id. This was two or three times the

            amount he then used in a typical day. (Def’t Ex. 6 at FOR006). At that



                                         2
Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 3 of 14



       point, he had been using heroin for two years and was “sick and tired

       of it.” Id. He had recently stolen money from his sister and “fe[lt]

       hopeless and worthless,” he had separated from his wife “due to drug

       use, “ and “he was intentionally trying to end his life with the amount

       of heroin he used today.” Def’t Ex. 6 at FOR0021). The blood work

       tested positive for opiates. (Def’t Ex. 6 at FOR007, FOR0013). The

       hospital staff later noted that Mr. Kim “obviously use[d] street drugs.”

       Id.

 -     Later that same day, on June 11, 2008, Mr. Kim was admitted to

       Laurelwood Hospital of Gainesville following the intentional overdose,

       which the doctor labeled “almost lethal.” (Def’t Ex. 1 at LAU003,

       LAU016). At Laurelwood, the physician diagnosed Mr. Kim with

       “severe opiate dependence.” (Def’t Ex. 1 at LAU005). He also noted

       “opiate dependence/withdrawal,” “organic mood disorder with

       depression secondary to drug use,” and “very high risk of harm to

       himself as evidenced by depressive symptoms, suicidal ideation,

       intentional overdose of heroin to kill himself prior to this admission

       which he planned for several weeks prior to the overdose as well as a

       previous suicide attempt via an overdose in October 2007.” (Def’t Ex.

       1 at LAU004).

                                   3
Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 4 of 14



 -     At Laurelwood, Mr. Kim reported that if he relapsed, he would seek

       inpatient treatment “very quickly, since his suicide attempts in the past

       have occurred after he has relapsed with opiates, and he becomes

       increasingly depressed with feelings of guilt.” (Def’t Ex. 1 at LAU005).

 -     Mr. Kim reported that “he [could] not stop using” heroin. (Def’t Ex. 1

       at LAU006). It was “his intent to die at the time he took the overdose,”

       that he “does not have depressive symptoms during periods of

       sobriety,” that his “longest recent sobriety was 4 months, which ended

       in December 2007,” and that “when he relapsed with opiate

       dependence . . . he soon begins to feel very depressed.” Id.

 -     The staff at Laurelwood suggested various interventions, which Mr.

       Kim agreed to, including “inpatient stabilization,” “group therapy,”

       “12-step program,” and medications. (Def’t Ex. 1 at LAU012). In spite

       of this regimen, the staff noted Mr. Kim’s “high risk of relapse and use

       of opiates.” (Def’t Ex. 1 at LAU016).

 -     For fifteen months between June 2008 and September 2009, Mr. Kim

       lived at the Prodigals Community, an inpatient treatment center in

       North Carolina. (Def’t Ex. 2 at PROD001). The program admitted him

       as a heroin addict. (Def’t Ex. 2 at PROD005). When he arrived at the

       program, Mr. Kim wrote that “[a]fter losing my wife, job, and house,

                                    4
Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 5 of 14



       the thought of suicide had crossed my mind. I could not quit using

       heroin and so I attempted to commit suicide.”            (Def’t Ex. 2 at

       PROD008).

 -     As he entered the Prodigals program, Mr. Kim expressed himself in

       these words: “The past three years of drug abuse has primarily been

       oxycontin and heroin along with alcohol. The impact of my drug usage

       upon my life has been incredibly huge. Due to drugs I have ruined my

       marriage, lost jobs and lost my home to foreclosure. I truly believe my

       life can be restored if I could learn to function without the use of drugs

       and alcohol. I have been sober for a week now and am praying that I

       get accepted into this program to continue my sobriety and learn to live

       as a sober member of society.” (Def’t Ex. 2 at PROD009). Mr. Kim

       criticized himself as “spiritually bankrupt.” (Def’t Ex. 2 at PROD0053).

 -     Mr. Kim progressed through the various phases of the Prodigals

       program and by the end of the 15-month program, in September 2009,

       he reached the most advanced — the “senior” — stage and graduated

       from the program. (Def’t Ex. 2 at PROD0073).

 -     The success lasted only a few months. By February 27, 2010, Mr. Kim

       spiraled back into heavy heroin use, which led him once again to do

       violence to himself through an attempted suicide. (Def’t Ex. 3 at

                                    5
Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 6 of 14



       NOR003). Mr. Kim tried to hang himself with neckties inside a hotel

       room, the noose snapped, he called a suicide hotline, and was admitted

       to Northside Hospital. (Def’t Ex. 3 at NOR0011). He told the hospital

       that he shot heroin, tried to get off it, and failed; he said that “he just

       [did] not want to live anymore.” Id. The hospital’s blood test showed

       that Mr. Kim had several illegal drugs, including opiates, in his system.

       (Def’t Ex. 3 at NOR0026). The staff noted that he was going through

       heroin withdrawal. (Def’t Ex. 3 at NOR0209). Mr. Kim told the staff

       that he “gets crazy when attempting to withdraw from heroin.” (Def’t

       Ex. 3 at NOR0030).

 -     In April 2010, with the help of the Forsyth County court system, Mr.

       Kim enrolled in Potter’s House, a part of the Atlanta Union Mission.

       (Def’t Ex. 4 at POT005). He arrived, once again, for intervention in his

       addiction to heroin and other opiates. (Def’t Ex. 4 at POT0032). Mr.

       Kim believed then that he would “learn to live clean and sober again.”

       (Def’t Ex. 4 at POT0013). He was forthright with the staff about his

       addiction, his failed treatment in the past, and his criminal history.

       (Def’t Ex. 4 at POT0017). After four months in the program, Mr. Kim

       was discharged because he used nicotine. (Def’t Ex. 4 at POT0023).

 -     In December 2011, Mr. Kim enrolled in another inpatient treatment

                                     6
Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 7 of 14



       center: Turning Point in Gainesville, Georgia. (Def’t Ex. 5 at TUR005).

       The twelve-month program required Mr. Kim to participate in group

       counseling, take at least two random drug screens per week, attend

       daily self-help meetings, and find a job. Id. Mr. Kim got off to a good

       start: he was “doing well in class,” “often leading group discussion,”

       “attending 12 step meeting,” and “usually shar[ing] stuff in the group

       discussion.” (Def’t Ex. 5 at TUR007). By January 2012, Mr. Kim was

       employed and attending group meetings and 12-step programs. (Def’t

       Ex. 5 at TUR006). Mr. Kim attended multiple 12-Step programs and

       passed multiple drug tests each week. (Def’t Ex. 5 at TUR0015). In

       early 2012, Mr. Kim relapsed by using cocaine, received a jail sanction

       from the Forsyth County Drug Court, and returned to Turning Point

       to try again. (Def’t Ex. 5 at TUR0030, TUR0032). In April and May, he

       continued to work at the Nissan dealership, (PSR ¶ 94), pass drug tests

       and meet the program’s many requirements. (Def’t Ex. 5 at TUR0018,

       TUR0021, TUR0024). Mr. Kim tested positive for opiates a second time

       in June 2012 and, as a result, the program terminated him. (Def’t Ex. 5

       at TUR002). From this point forward, Mr. Kim again fell into the

       whirlpool of heroin addiction, where he swam until he committed the

       violent crimes in this case.

                                      7
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 8 of 14



      B.     The Vulnerable Victim Enhancement Ought Not Apply to the Facts of
             this Case

      The probation officer has correctly chosen not to apply the “vulnerable

victim” enhancement to this case. (PSR ¶ 42). Although the enhancement may

apply to a victim who is “unusually vulnerable due to age,” it should not apply to

the facts of this case. U.S.S.G. § 3A1.1, comment. n.2. The government mistakenly

argues that Baleigh Haas, the victim in the carjacking count, was a “vulnerable

victim.” To be clear, Mr. Kim placed Ms. Haas in grave peril. He caused her lasting

emotional harm. We do not discount her suffering during the robbery or minimize

the painful effects since. Indeed, the sentencing guideline range already accounts

for the collection of harms Mr. Kim caused Ms. Haas. The adjusted offense level

includes enhancements based on Mr. Kim’s use of the firearm in striking Ms. Haas

in the head (six levels), the physical injury Mr. Kim caused her, (two levels), the

abduction at gunpoint in search of an ATM machine (four levels), and the carjacking

itself (two levels). (PSR ¶¶ 37-40). These 14 levels worth of enhancements adequately

capture the varying forms of harm — including the lasting terror — to this victim.

      First, although Ms. Haas has suffered both physical injury and ongoing

emotional harm, her age and continuing fear alone did not render her “vulnerable”

under the guidelines.    In order to apply this enhancement, a given victim's

vulnerability must be “unusual.” U.S.S.G. § 3A1.1, comment. n.2. Although Mr.


                                         8
     Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 9 of 14



Kim put Ms. Haas in great danger, he did so only in the manner that many

defendants do when they commit an armed carjacking. The use of the gun, the

threats, the injury, and even the abandonment on the side of the road are part of

many carjackings. This alone is not enough. Instead, the vulnerability that triggers

§ 3A1.1 “must be an ‘unusual’ vulnerability which is present in only some victims

of that type of crime.” United States v. Davis, 967 F.2d 516, 523-24 (11th Cir. 1992).

“[T]he correct inquiry is not whether a given [carjacking] victim was vulnerable, but

whether [the robber] specifically targeted a particular victim who was 'more

vulnerable than the normal [carjacking] victim.” Id. Ms. Haas — in suffering lasting

fear and pain — has reacted just as we might expect of a carjacking victim of any

age. It was a frightening and life-changing event, but this is true even for most adult

victims of this crime.

      Second, at the time Mr. Kim committed the crime, he neither “knew” nor

“should have known” that Ms. Haas was 16 years old. U.S.S.G. § 3A1.1(b)(1).

Without such knowledge, the enhancement cannot apply. Mr. Kim had no reason

to know that Ms. Haas was 16 years old until she told him so after the crime was

well under way. (PSR ¶ 15). The two were already in the car when Mr. Kim

demanded she take him to an ATM and she responded at that time by telling Mr.

Kim her age and that she had no ATM cards. The vulnerable-victim enhancement

is not, as the government implies, akin to the eggshell-skull tort question in law

                                          9
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 10 of 14



school; a robber does not have to take his victim as she comes and suffer the

consequence. Under § 3A1.1, he must know (or should have known) of a victim’s

vulnerability. Here Mr. Kim did not know and should not have known that a young

woman driving a car alone at night in a mall parking lot was, in fact, a teenager with

a new driver’s license.

      Third, Mr. Kim did not target Ms. Haas as a victim because of any perceived

vulnerability. This is not, for example, a case in which a defendant specifically

selects his victims precisely because they are children. See United States v. Amedeo,

370 F.3d 1305, 1317-1318 (11th Cir. 2004) (defendant sold drugs to a known drug

addict); United States v. Melvin, 187 F.3d 1316, 1322 (11th Cir. 1999) (defendant

commits fraud on children in hospital). Although it is no longer required that a

defendant target the victim because of her vulnerability, see United States v. Gonzalez,

183 F.3d 1315, 1326 (11th Cir. 1999), this fact is relevant in deciding whether he knew

or should have known she was vulnerable. In this case, Mr. Kim’s selection of a

teenager was accidental. Mr. Kim’s pattern of behavior in this set of crimes shows

he did not intend to target any vulnerable person, including a teenager. For

example, the victims in the Bejewelled and Rite Aid robberies were adults. (PSR ¶¶

14, 17). Indeed, even in the carjacking event, Mr. Kim clearly sought an adult victim

because only an adult, one must presume, would be able to visit an ATM machine

with credit or debit cards in order to withdraw money on demand. As Mr. Kim

                                          10
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 11 of 14



chose a victim late at night in a mall parking lot, he had every reason to assume that

as Ms. Haas got out of the driver’s seat of a car, she was an adult. Mr. Kim was

wrong, as he learned later, and his angry reaction to Ms. Haas once she told him she

was merely 16 years old demonstrates that he affirmatively did not want to target

anyone but an adult. (PSR ¶ 15). This set of facts is akin to the example in the

guideline’s Application Note 2, which states that the enhancement “would not apply

in a case in which the defendant sold fraudulent securities by mail to the general

public and one of the victims happened to be senile.” U.S.S.G. § 3A1.1, comment.

n.2. Mr. Kim’s unintended selection of a teenager makes all the difference on this

enhancement.

      Lastly, the government relies heavily on facts which tilt against application of

the enhancement. (PSR ¶ 42). When the victim told Mr. Kim midstream that she

was merely 16 years old and lacked a debit card, his angry response shows that he

intended to find an adult capable of withdrawing money from a bank. Although

Mr. Kim took Ms. Haas’ wallet and cellphone, this is highly common in carjackings,

where the robber typically tries to prevent a victim from calling the police as the

robber departs. It hardly rendered Ms. Haas more unusually vulnerable compared

to other carjacking victims. Although the government suggests that Ms. Haas’

youthfulness somehow led her to react more passively, the facts show that she

behaved in a mature and safe manner. Ms. Haas was coherent enough to follow Mr.

                                         11
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 12 of 14



Kim’s demands, to drive away from the mall at his direction, to stop and park the

car, and to flag down a passing motorist once she was left alone. The government

seems to find significance in Ms. Haas’ supposed missed “opportunity to escape,”

but she reacted as most adult victims react when faced with the barrel of a gun: she

followed her captor’s instructions rather than risk further harm by chancing an

escape. Although she was very upset, of course, Ms. Haas was able to give the police

that same night a detailed (and accurate) verbal and written description of Mr. Kim,

right down to the “small drawstring backpack.”

      The government concedes in its objection that “in the context of violent

crimes, the Eleventh Circuit has only dealt with age as a vulnerability when the

victim was an infant, a preteen or an elderly person.” There may be a lack of case

law on this topic because district courts do not apply the enhancement to 16-year-

old robbery victims and, consequently, defendants have no need to raise the issue

on appeal. In any event, the government here offers only a Fifth Circuit case

published nearly a quarter-century ago. United States v. Rocha, 916 F.2d 219, 244045

(5th Cir. 1990). However, the Rocha opinion is distinguishable from the case before

this Court and does not support the government’s position here. Unlike Mr. Kim,

the defendants in Rocha “chose[] . . . the kidnaping victim because of his age.” Id. at

244. Moreover, the defendants in Rocha stopped brandishing firearms and, in order

to convince the victim not to escape, they intentionally played upon his youthful

                                          12
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 13 of 14



immaturity by making up a fictional tale that “the Colombians” would hunt him

down if he got away. Id. at 244-45. The Fifth Circuit did not hold that the victim’s

evident terror, even at trial, was alone sufficient to presume he was “vulnerable,”

but merely supported the conclusion that he was susceptible to the threats made up

by the defendants in an effort to keep him captive. Id. at 245. The Fifth Circuit

simply held that under these unique facts, the district court’s application of the

enhancement was not clearly erroneous. Id. This unsurprising result does not

require the same outcome in Mr. Kim’s very different set of facts. Ms. Haas’ age did

not render her more vulnerable to carjacking than any other person alone in a vast

parking lot late at night.

      In the end, the government bears the burden of persuasion in convincing this

Court that this victim is unusually vulnerable compared to the typical carjacking

victim. United States v. Young, 527 F.3d 1274, 1276-77 (11th Cir. 2008) (“The burden

of proof for establishing that a sentence enhancement is warranted lies with the

prosecution and it is the duty of the district court to insure that the prosecution

carries its burden of proof.”) (citation omitted). It has failed to meet this burden and,

therefore, this Court ought not apply the enhancement to Mr. Kim’s guideline

calculations.

                                      Conclusion

      The low end of the advisory guideline range — 252 months or approximately

                                           13
    Case 1:12-cr-00323-WSD-CMS Document 22 Filed 02/11/13 Page 14 of 14



two decades in a federal prison — is adequate punishment for these frightening and

dangerous crimes. Counsel urges this Court to impose just such a sentence.

      Dated: This the 11th day of February, 2013.

                                      Respectfully submitted,

                                      /s/ W. Matthew Dodge
                                      W. Matthew Dodge
                                      Attorney for Mr. Kim
                                      Georgia State Bar No. 224371

                                      Federal Defender Program, Inc.
                                      101 Marietta Street, N.W., Suite 1500
                                      Atlanta, Georgia 30303
                                      (404) 688-7530 Fax (404) 688-0768
                                      Matthew_Dodge@FD.org

                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Defendant’s Sentencing Memorandum was

formatted in Book Antiqua 13 pt., in accordance with Local Rule 5.1C, and was

electronically filed this day with the Clerk of Court using the CM/ECF system

which will automatically send email notification of such filing to Joseph Plummer,

Assistant United States Attorney, 600 Richard B. Russell Building, 75 Spring Street,

S.W., Atlanta, Georgia, 30303.

      Dated: This the 11th day of February, 2013.

                                      /s/ W. Matthew Dodge
                                      W. Matthew Dodge



                                        14
